













NUMBER 13-09-00333-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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CHRISTUS SPOHN HEALTH SYSTEM CORP., 	Appellant,


v.



CULP &amp; TANNER, INC.,	Appellee,

_____________________________________________________________


On Appeal from the 319th District Court 


of Nueces County, Texas.


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MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza 
Memorandum Opinion Per Curiam


	Appellant perfected an appeal from a judgment entered by the 319th District Court
of Nueces County, Texas, in cause number 07-6345-G.  Appellant has filed an unopposed
motion to dismiss the appeal on grounds that the parties have resolved their disputes,
rendering this appeal moot.  Appellant requests that this Court dismiss the appeal.

	The Court, having considered the documents on file and appellant's unopposed
motion to dismiss the appeal, is of the opinion that the motion should be granted.  See Tex.
R. App. P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby
DISMISSED.  Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent
agreement of the parties, the court will tax costs against the appellant.").  Having dismissed
the appeal at appellant's request, no motion for rehearing will be entertained, and our
mandate will issue forthwith.


							PER CURIAM

Memorandum Opinion delivered and 

filed this the 29th day of October, 2009. 





	


